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1844 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing-and service of pleadings or-other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the Tnited States. ia Senteunber 1974, is.required for the use of the Clerk of Court for the’

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM)

1 Sh cra Ohl ae Deborah Coll COTE Een, Inc.
941 Washington Street
Freeland, PA 18224

(b) County of Residence of First Listed Plaintiff’ Luzerne Gounity, PA County of Residence of First Listed Defendant _Duval County, Florida

 

(EXCEPT IN-US. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

NOTE; EN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(e} Attorneys (Firm Name, Address, and Teleplione Numb Attorneys (i-Known)
Stephen A. Seach, Esquire ; ee
The Seach Law Offices
53 West Foothills Drive, Drums,.PA 18222 {(570).359-3283

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Defendant placed Plaintiff in zone of danger. Defendant's.train struck Plaintiffs work vehicle, causing injury
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FOR OFFICE USE ONLY
APPLYING IFP JUDGE. MAG. JUDGE

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RECEIPT # AMOUNT

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THE SEACH LAW OFFICES

BY: STEPHEN A. SEACH, ESQUIRE

53 West Foothills Drive Attorney for Plaintiffs
Drums, PA 18222

Pennsylvania Attorney I.D. No.: 67416

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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Raymond Coll and Deborah Coll, his wife

Pennsylvania,
Plaintiffs : JURY TRIAL DEMANDED
vs. :
CSX Transportation, Inc.,
Defendant
Complaint

Plaintiffs, Raymond Coll and Deborah Coll, by their attorneys, The
Seach Law Offices, hereby bring this complaint against Defendant, CSX
Transportation, Inc., and, in support thereof, aver as follows:

1. Plaintiff, Raymond Coll, is an adult individual, residing in
Luzerne County, Pennsylvania.

2, Plaintiff, Raymond Coll, is an adult individual, residing in

Luzerne County, Pennsylvania.
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3. Plaintiffs have been and are married to each other.

4. Defendant, CSX Transportation, Inc., is a foreign Corporation
with a principal place of business in Jacksonville, Florida.

5. CSX Transportation, Inc., regularly conducts substantial
business in the Middle District of Pennsylvania.

6. Defendant CSX Transportation, Inc., is in the business of
owning and operating railroads.

7. Defendant, CSX Transportation, Inc., owns and operates
railroads located in Versailles, Pennsylvania.

8. At all times material, Defendant, CSX Transportation, Inc., had
care, custody and control of its railroads in Versailles, Pennsylvania.

9. At all times material, Defendant, CSX Transportation, Inc., had
control over who could use its railroads, including those who could conduct
work on and near the railroads.

10. Before July 14, 2018, Defendant entered into a contract with
DBI Services, LLC.

11. DBI Services, LLC. is a foreign company with a principal place
of business in Hazleton, Luzerne County, Pennsylvania.

12. DBI Services, LLC’s business includes contracting to perform

weed control on railroads.
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13. Defendant, CSX Transportation, Inc.’s contract with DBI
Services, LLC covered weed control on Defendant, CSX Transportation, Inc.’s
railroads including the railroads in Versailles, Pennsylvania.

14. Onor before July 14, 2018, Defendant, CSX Transportation,
Inc., requested that DBI Services, LLC perform weed control services on the
railroads in Versailles.

15. Defendant, CSX Transportation, Inc., knew that DBI Service,
LLC’s performance of weed control services would require DBI Service, LLC’s
employee(s) to use Defendant, CSX Transportation, Inc.’s railroads, including
entering, using and exiting the railroad with Hi-Rail vehicles.

16. Hi-Rail vehicles are trucks that could be used on roads and
highways. They also have gear which, when activated, allows the Hi-Rail to
ride on railroads.

17. OnJuly 14, 2018, Defendant, CSX Transportation, Inc.,
assigned one of its employees, known as a Pilot, to escort a DBI employee on
Defendant’s railroad in and near Versailles, Pennsylvania.

18. By assigning this employee Defendant, CSX Transportation,
Inc., had several responsibilities, including to ensure that its Pilot would be
able to provide for the on track safety of roadway workers and be trained,

qualified and knowledgeable about the following:
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1. All the on-track safety training and qualification required
of the roadway workers to be supervised and protected.

2. The content and application of the operating rules of the
railroad pertaining to the establishment of working
limits.

3. The content and application of the rules of the railroad
pertaining to the establishment or train approach

warning.

A. The relevant physical characteristics of the territory of
the railroad upon which the roadway worker is qualified.

49 C.F.R. §2114.353(a).

19. Defendant, CSX Transportation, Inc., was in radio contact with
its Pilot.

20. Defendant, CSX Transportation, Inc., stated over the radio that
the railroad to be used by the DBI employee was clear, thereby providing
authority for DBI’s employee to do his job under the escort of Defendant’s
Pilot.

21. Defendant, CSX Transportation, Inc., and its Pilot knew or
should have known that it would be necessary for the DBI Hi-Rail vehicle to
cross and/or be close to Defendant’s adjacent rails.

22. As required to do his job, the DBI employee started to position
the Hi-Rail vehicle, so that he could get it in position where the gear could be

placed onto the rails.
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23. Without invitation, warning or explanation, Defendant’s Pilot
lowered the rail gear, before the Hi-Rail vehicle was in a safe and proper
position for the landing gear to be activated.

24. Defendant, CSX Transportation, Inc.’s Pilot knew or should
have known that his lowering the rail gear was placing the DBI vehicle
within four feet of the adjacent rails and fouling the adjacent track.

25. Defendant, CSX Transportation, Inc.’s Pilot began activating the
gear, even though he was not asked to do so and did not have express or
implied permission to maneuver the gear on the DBI Hi-Rail vehicle.

26. The Pilot’s uninvited interference with and activation of gear
caused the DBI Hi-Rail vehicle to be positioned in place, close to the adjacent
rail.

27. The DBI driver exited his vehicle to see what the Pilot was
doing.

28. As the DBI driver was walking near the back of the Hi-Rail
vehicle, he was alerted by a train horn.

29. A train was approaching on the adjacent track.

30. For his safety, the DBI driver sought refuge by running into the
cab of the Hi-Rail vehicle.

31. Aneffort was made to move the vehicle, but it was unmovable in

the position directed by the Pilot.
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32. The oncoming train, operated by and under the care, custody
and control of Defendant, CSX Transportation, Inc., smashed into the DBI
Hi-Rail vehicle, and the train’s cars continued to strike the DBI Hi-Rail
vehicle, until coming to a stop.

33. The crash and continued thumping caused severe and
permanent injuries to the DBI driver.

34. That driver was Plaintiff, Raymond Coll.

35. The conduct of Defendant, CSX Transportation, Inc., and its
employee caused injuries to Raymond Coll, including, but not limited to the
following:

A. rib fractures;
neck pain;
hip pain;
cervical strain;
lumbar strain;
trauma;

cervical spinal stenosis or the aggravation of it;

ac Aa Ff fe & a Bw

upper back pain;

rH

cervical facet syndrome;
J. lumbar facet arthropathy;

K. herniation of lumbar intervertebral disc, with
radiculopathy and trochanteric bursitis;

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radiculitis;
thoracic spine pain cervicalgia;
muscle spasm;

the need for medical treatment including invasive
treatment;

nightmares and fright; and

other injuries and harms to be identified seasonably prior
to trial.

36. As a result of the aforesaid injuries, Plaintiff, Raymond Coll, has

been rendered sore and disabled and sustained physical and mental pain and

great discomfort, and suffering, all of which required, and continue to

require, extensive medical care and treatment.

37. As a result of the aforesaid injuries, Plaintiff, Raymond Coll, has

suffered physical and mental discomfort, inconvenience, embarrassment and

humiliation and is informed and therefore avers, that some or all of the

injuries may continue to be permanent in nature and that he will, therefore,

continue to suffer in the future, thereby requiring additional medical

treatment from time to time.
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38. As a result of the aforesaid injuries, Plaintiff, Raymond Coll, has
been obliged to receive and undergo medical attention and care and has been
obliged to expend and incur various expenses for the injuries he has suffered
and will be obliged to continue to expend such sums and incur such expenses
for an indefinite time into the future.

39. As a result of the aforesaid injuries, Plaintiff, Raymond Coll, has
sustained, and is continuing to sustain, pain and suffering, embarrassment
and humiliation, and a loss of the everyday pleasures and enjoyment of life.

40. As a result of the injuries caused by the negligence of the
Defendant, Plaintiff, Raymond, sustained lost earnings and lost earning
capacity and may in the future sustain wage loss and a loss of earnings
capacity.

41. As a result of these injuries caused by Defendant, Plaintiff has

been disfigured.
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Count I
Plaintiff, Ray Coll v. Defendant, CSX Transportation, Inc.
Vicarious Liability for Pilot’s Torts

42. Plaintiff incorporates by reference the previous paragraphs.
43. Defendant, CSX Transportation, Inc.’s Pilot was negligent,
reckless and careless, as follows:

A. By lowering the landing gear of the Hi-Rail vehicle, the
Pilot rendered the vehicle stationary, within four feet of
the adjacent rails, fouling the adjacent track, and placing
Plaintiff, Raymond Coll, in the zone of danger.

B. Where the original job did not require the fouling of the
adjacent track, the Pilot should have warned Plaintiff,
Raymond Coll, that the duties would call for fouling of the
track or that he intended to initiate otherwise
unforeseeable conduct that would render the Hi-Rail
vehicle unmovable, in a dangerous location.

C. The Pilot under those circumstances was required to
provide all protection necessary for on-track safety for
Plaintiff, Raymond Coll. See 49 C.F. R. §214.315(c).

D. The Pilot failed to comply with his duties as set forth in
49 C.F.R. §214.315.

E. The Pilot stopped the DBI Hi-Rail truck, placing it in a
zone of danger.

F. The Pilot touched, maneuvered and activated DBI’s gear,
without asking Plaintiff for permission or even alerting
Plaintiff that he would be doing so.

G. The Pilot knew or should have known that a train would
be coming and should have warned Plaintiff, Raymond
Coll, ahead of time, instead of providing a thumb’s up, as
he did.
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44. The carelessness, recklessness and negligence of Defendant’s
Pilot caused Plaintiffs harm.

45. Defendant, CSX Transportation, Inc., is vicariously liable for its
Pilot’s negligence, carelessness and recklessness.

WHEREFORE, Plaintiff demands judgment in his favor and against
Defendant, CSX Transportation, Inc., for compensatory damages and

punitive damages, in an amount greater than $75,000.00

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Count II
Plaintiff, Raymond Coll v. Defendant, CSX Transportation, Inc.
Defendant’s Own Negligence, Carelessness and Recklessness

46. Plaintiff incorporates by reference the previous paragraphs.
47. Defendant, CSX Transportation, Inc. was directly negligent,
careless and reckless, as follows:

A. Failing to alert its Pilot that a train could be approaching
on the adjacent tracks.

B. Failing to adequately train the Pilot to safely escort
Plaintiff, Raymond Coll, under the circumstances.

C. Disregarding the steps necessary to qualify its Pilot in the
necessary areas.

D, Failing to provide a qualified Pilot to ensure Plaintiffs
safety while a worker on its railroad.

E. Failing to meet the obligations under 49 C.F.R. §214.803
(railroad on-track safety programs, generally.)

F. Failing to meet its obligations under 49 C.F.R.§3438
(training and qualification, general).

G. Failing to meet its obligations under 49 C.F.R. §214.345
(training for all roadway workers).

H. Unnecessarily fouling the adjacent track by stopping the
DBI Hi-Rail vehicle.

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48. Defendant, CSX Transportation, Inc., disregarded safety
measures on its railroad, knowing that its train did not have a short stopping
distance and that things or people hit by its train will be damaged and
injured and that a crash caused by its trains would likely lead to injury or
death.

49. Yet, Defendant, CSX Transportation, Inc., intentionally chose to
disregard the measures that a reasonably prudent corporation would take
under the circumstances and which were necessary for Plaintiff, Raymond
Coll’s safety.

50. Defendant, CSX Transportation, Inc.’s conduct shows wanton
disregard for Plaintiff, Raymond Coll’s safety and well-being.

WHEREFORE, Plaintiff demands judgment in his favor and against
Defendant, CSX Transportation, Inc., for compensatory damages and

punitive damages, in an amount greater than $75,000.00

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Count III

Plaintiff, Deborah Coll
v.
Defendant, CSX Transportation, Inc.
Loss of Consortium

51. Plaintiffs incorporate by reference the previous paragraphs.

52. The injuries sustained by the Plaintiff, Raymond Coll, have
caused harms to his wife, Plaintiff, Deborah Coll.

53. Asa result of the injuries sustained by Plaintiff, Raymond Coll,
Plaintiff, Deborah Coll, has sustained a loss of companionship, society and
services of her husband from the time of Defendant’s negligent and tortious
conduct to the present and continuing into the future.

WHEREFORE, Plaintiff, Deborah Coll, demands judgment in her favor
and against Defendant, CSX Transportation, Inc., for compensatory damages
and punitive damages, in an amount greater than $75,000.00.

Respectfully submitted,

THE SEACH LAW OFFICES

A 0 J
BY: [kG a LZ? fa.

gf Stephen A. Seach, Esquire

: Pa. Attorney I.D. 67416
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Ls
